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DELBELLO DONNELLAN WEINGARTEN
WISE & WIEDERKEHR, LLP
Attorneys for the Debtor
One North Lexington Avenue
White Plains, New York 10601
(914) 681-0200
Dawn Kirby, Esq.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------X
In re
                                                                   Chapter 13
JEFFREY PAUL MOSKOWITZ,                                            Case No. 17-23511-rdd

                                    Debtor
-------------------------------------------------------X

                                        AFFIDAVIT OF SERVICE

STATE OF NEW YORK                           )
                                            ) SS.:
COUNTY OF WESTCHESTER                       )

Daisy A. Pons, being duly sworn, deposes:

       Deponent is not a party to the action and is over 18 years of age and is an employee of the
law firm of DelBello Donnellan Weingarten Wise & Wiederkehr, LLP, One North Lexington
Avenue, 11th Floor, White Plains, New York 10601.

       On the 4th day of October 2017, Deponent served a copy of the Debtor’s Chapter 13 Plan
upon the parties on the service list annexed hereto, by depositing a true copy of same, enclosed in
a pre-paid properly addressed wrapper in an official depository under the exclusive care and
custody of the United States Postal Service in the State of New York by first class mail.

                                                     /s/ Daisy A. Pons
                                                        Daisy A. Pons
Sworn to before me this
4th day of October 2017
/s/ Bryn A. Leonardo
Bryn A. Leonardo
Notary Public, State of New York
Qualified in Westchester County
Commission Expires April 7, 2018
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                                   SERVICE LIST

AMERICAN EXPRESS
P.O. BOX 1270
NEWARK, NJ 07101-1270

CACH LLC
370 17TH STREET STE 5000
DENVER, CO 80202

CACH, LLC
111 CENTRE STREET
NEW YORK, NY 10001-7000

CAPITAL ONE
P.O. BOX 30285
SALT LAKE CITY, UT 84130-0285

CAPITAL ONE BANK USA
P.O. BOX 30281
SALT LAKE CITY, UT 84130

CATHERINE QUIBLIER
3 RUE DEL'ORATOIRE
DOUVAINE FRANCE 74140

CITIBANK
1000 TECHNOLOGY DRIVE
O FALLON, MO 63368

CITIBANK
120-55 QUEENS BLVD
KEW GARDENS, NY 11415

NORTH STAR CAPITAL
ACQUISITIONS LLC
220 JOHN GLENN DRIVE #1
BUFFALO, NY 14228

NYC DEPARTMENT OF FINANCE
345 ADAMS STREET, 3RD FLOOR
ATTN: LEGAL AFFAIRS DIVISION
BROOKLYN, NY 11201-3719

NYS DEPAT. OF TAX & FINANCE
BANKRUPTCY SPECIAL PROCEDURES
P.O. BOX 5300
ALBANY, NY 12205-0300
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OFFICE OF THE U.S. TRUSTEE
US FEDERAL OFFICE BUILDING
201 VARICK STREET, STE 1006
NEW YORK, NY 10014

PALISADES ACQUISITION LLC
210 SYLVAN AVENUE
ENGLEWOOD CLIFFS, NJ 07632

PALISADES COLLECTION LLC
210 SYLVAIN AVENUE
ENGLEWOOD CLIFFS, NJ 07632

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39 BROADWAY, ROOM 1250
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ONE ST. ANDREW'S PLAZA
CLAIMS UNIT-ROOM 417
NEW YORK, NY 10007

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STANDING CHAPTER 13 TRUSTEE
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WHITE PLAINS, NY 10603
